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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: SORIN 3T > MDL DOCKET NO. 2816
HEATER-COOLER SYSTEM : Civil Action No. 1:18-MD-2816
PRODUCTS LIABILITY ;

LITIGATION (NO. I) : Hon. John E. Jones, II

THIS DOCUMENT RELATES TO:
ALL CASES

NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
AS TO DEFENDANTS, LIVANOVA, PLC, SORIN GROUP DEUTSCHLAND GMBH, AND
LIVANOVA DEUTSCHLAND GMBH

Certain Plaintiffs in this MDL have claims against Defendants LivaNova, PLC, Sorin Group
Deutschland GmBH, and/or against LivaNova Deutschland GmbH. To the extent that Plaintiffs have
such claims against one or more of these entities, Plaintiffs, by and through the undersigned MDL
Lead Counsel, hereby file this Notice of Voluntary Dismissal of Defendants LivaNova, PLC, Sorin

Group Deutschland GmbH, and LivaNova Deutschland G , without prejudice.

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